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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF VIRGINIA
Charlottesville Division

ELIZABETH SINES, SETH WISPELWEY,
MARISSA BLAIR, TYLER MAGILL, APRIL
MUNIZ, HANNAH PEARCE, MARCUS
MARTIN, NATALIE ROMERO, CHELSEA
ALVARADO, and JOHN DOE

Plaintiffs,
Vv. Civil Action No.: 3:17CV00072

JASON KESSLER, RICHARD SPENCER,
CHRISTOPHER CANTWELL, JAMES ALEX
FIELDS, JR.,. VANGUARD AMERICA,
ANDREW ANGLIN, MOONBASE

HOLDINGS, LLC, ROBERT “AZZMADOR”
RAY, NATHAN DAMIGO, ELLIOTT

KLINE a/k/a ELI MOSELEY, IDENTITY
EVROPA, MATTHEW HEIMBACH, MATTHEW
PARROTT a/k/a DAVID MATTHEW PARROTT,
TRADITIONALIST WORKER PARTY,
MICHAEL HILL, MICHAEL TUBBS, LEAGUE
OF THE SOUTH, JEFF SCHOEP, NATIONAL
SOCIALIST MOVEMENT, NATIONALIST
FRONT, AUGUSTUS SOL INVICTUS,
FRATERNAL ORDER OF THE ALT-KNIGHTS,
MICHAEL “ENOCH” PEINOVICH, LOYAL
WHITE KNIGHTS OF THE KU KLUX KLAN,
and EAST COAST KNIGHTS OF THE KU KLUX
KLAN a/k/a EAST COAST KNIGHTS OF THE
TRUE INVISIBLE EMPIRE,

Defendants.
ANSWER TO AMENDED COMPLAINT
COMES NOW the Defendant, James Alex Fields, Jr., (“Fields”), by counsel, as and for his

Answer to the Amended Complaint filed against him herein, and in support thereof states as follows:

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i, In response to Paragraph | of the Complaint, Fields admits only that he traveled to
Charlottesville, Virginia to attend the Unite the Right rally. Otherwise denied as to Fields. He does
not have sufficient information to respond to allegations as to the actions and intent of others.

2. In response to Paragraph 2, Fields does not have sufficient information to admit or
deny these allegations.

3. Fields denies the allegations in Paragraph 3 as to him. He does not have sufficient
information to respond to allegations as to the intent of others.

4. Fields denies the allegations in Paragraph 4 as to him. He does not have sufficient
information to respond to allegations as to the intent of others.

5. Fields denies the allegations in Paragraph 5 as to him. He does not have sufficient
information to respond to allegations as to the intent of others.

6. Fields denies the allegations in Paragraph 6 as to him. He does not have sufficient
information to respond to allegations as to the intent of others.

7. Paragraph 7 contains no allegations as to Fields and should require no response. To
the extent a further response is deemed required, denied.

JURISDICTION AND VENUE

8. While denying the allegations in the Complaint generally, Fields admits jurisdiction is
proper.
9. While denying the allegations in the Complaint generally, Fields admits venue is
proper.
THE PARTIES

A. Plaintiffs
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10. Fields does not have sufficient information to admit or deny the allegations of
Paragraphs 10.

11. Fields denies the allegations in Paragraph 11 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others or to the statements about this
Plaintiff's background and/or alleged injuries and symptoms.

12. Fields denies the allegations in Paragraph 12 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others, the statements about this
Plaintiff's actions and background, or the alleged injuries, limitations, and symptoms.

13. Fields denies the allegations in Paragraph 13 as to him. He does not have sufficient
information to respond to allegations as to the intent or actions of others or this Plaintiff's actions
and alleged injuries or damages.

14. Fields denies the allegations in Paragraph 14 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others or to this Plaintiff's claims
regarding her actions and alleged injuries.

15. While admitting the vehicle he was operating collided with the rear of another
vehicle, Fields otherwise denies the allegations in Paragraph 15 as to him. He does not have
sufficient information to respond to allegations as to the intent or acts of others or Plaintiffs alleged
injuries and damages.

16. While admitting the vehicle he was operating collided with the rear of another
vehicle, Fields otherwise denies the allegations in Paragraph 16 as to him. He does not have
sufficient information to respond to allegations as to the intent or acts of others or Plaintiff's alleged

injuries and damages.
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17. While admitting the vehicle he was operating collided with the rear of another
vehicle, Fields otherwise denies the allegations in Paragraph 17 as to him. He does not have
sufficient information to respond to allegations as to the intent or acts of others or Plaintiff's alleged
injuries and damages.

18. While admitting the vehicle he was operating collided with the rear of another
vehicle, Fields otherwise denies the allegations in Paragraph 18 as to him. He does not have
sufficient information to respond to allegations as to the intent or acts of others or Plaintiff's alleged
injuries and damages.

19. While admitting the vehicle he was operating collided with the rear of another
vehicle, Fields otherwise denies the allegations in Paragraph 19 as to him. He does not have
sufficient information to respond to allegations as to the intent or acts of others or Plaintiff's alleged

injuries and damages.

B. Defendants

20. Paragraph 20 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

21. — Paragraph 21 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

22. Paragraph 22 is not addressed to Fields and should require no response. To the extent

a further response is deemed required, demed.
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23. In response to Paragraph 23, Fields admits he is a resident of Ohio and that the front
of his Dodge Challenger collided with the rear of another vehicle and that as a result of this
automobile accident another vehicle involved in the accident is reported to have struck and killed
Ms. Heyer. He further admits he has been charged with the crimes alleged in this paragraphs.
Otherwise denied.

24. ‘In response to Paragraph 24, Fields denies any ailegations that might be interpreted as
to him. He denies that he was or is a member of this group but admits someone handed him a shield
at the rally and that he carried the shield for portions of the rally. Otherwise denied. Fields does not
have sufficient information to respond to allegations as to the intent or acts of others.

25. Paragraph 25 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

26. ‘Paragraph 26 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

27. Paragraph 27 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations

28. Paragraph 28 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these

allegations,
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29. Paragraph 29 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

30. Paragraph 30 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

31. Paragraph 31 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

32. Paragraph 32 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

33. Paragraph 33 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

34. Paragraph 34 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

35. Paragraph 35 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these

allegations.
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36. Paragraph 36 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

37. Paragraph 37 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

38. Paragraph 38 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

39. Paragraph 39 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

40. Paragraph 40 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

41. Paragraph 41 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

42. _ Paragraph 42 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these

allegations.
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43. Paragraph 43 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

44. _ Paragraph 44 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

FACTS

45. Fields denies the allegations in Paragraph 45 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

46. Fields denies the allegations in Paragraph 46 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

47, Fields denies the allegations in Paragraph 47 as to him, He does not have sufficient
information to respond to allegations as to the intent or acts of others.

48. Fields denies the allegations in Paragraph 48 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

49, Fields denies the allegations in Paragraph 49 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

50. Fields denies the allegations in Paragraph 50 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

$1. Fields denies the allegations in Paragraph 51 as to him. He does not have sufficient

information to respond to allegations as to the intent or acts of others.
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52. Fields denies the allegations in Paragraph 52 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

53. Fields denies the allegations in Paragraph 53 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

54, Fields denies the allegations in Paragraph 54 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

55. Fields denies the allegations in Paragraph 55 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

56. Fields denies the allegations in Paragraph 56 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

57. Fields denies the allegations in Paragraph 57 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

58. Paragraph 58 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

59. Paragraph 59 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

60. Fields denies the allegations in Paragraph 60 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

61. Fields denies the allegations in Paragraph 61 as to him. He does not have sufficient

information to respond to allegations as to the intent or acts of others.
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62. Paragraph 62 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

63. Fields denies the allegations in Paragraph 63 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

64. — Paragraph 64 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

65. Paragraph 65 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

66. Paragraph 66 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

67. Paragraph 67 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

68. Fields denies the allegations in Paragraph 68 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

69. Fields denies the allegations in Paragraph 69 as to him. He does not have sufficient

information to respond to allegations as to the intent or acts of others.

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70. Fields denies the allegations in Paragraph 70 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

71. Fields denies the allegations in Paragraph 71 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

72. Fields denies the allegations in Paragraph 72 to the extent they are attributed to him.
He does not have sufficient information to respond to allegations as to the intent or acts of others.

73, Paragraph 73 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

74. Fields denies the allegations in Paragraph 74 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

75. Fields denies the allegations in Paragraph 75 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

76. Fields denies the allegations in Paragraph 76 to the extent they are attributed to him.
He does not have sufficient information to respond to allegations as to the intent or acts of others.

77. Fields denies the allegations in Paragraph 77 to the extent they are attributed to him,
He does not have sufficient information to respond to allegations as to the intent or acts of others.

78. Fields denies the allegations in Paragraph 78 to the extent they are attributed to him.
He does not have sufficient information to respond to allegations as to the intent or acts of others.

79, Fields denies the allegations in Paragraph 79 to the extent they are attributed to him.

He does not have sufficient information to respond to allegations as to the intent or acts of others.

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80. Fields denies the allegations in Paragraph 80 to the extent they are attributed to him.
He does not have sufficient information to respond to allegations as to the intent or acts of others.

81. Fields denies the allegations in Paragraph 81 to the extent they are attributed to him.
He does not have sufficient information to respond to allegations as to the intent or acts of others.

82. Paragraph 82 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

83. Paragraph 83 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

84. Paragraph 84 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

85. Paragraph 85 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

86. Paragraph 86 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

87. Paragraph 87 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these

allegations.

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88. Paragraph 88 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

89. Paragraph 89 is not addressed to Fields and should require no response, To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

90. Paragraph 90 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

91. Paragraph 91 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields admits upon information and belief that such a poster
was made public in some form.

92. Paragraph 92 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

93. Paragraph 93 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

94. Paragraph 94 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these

allegations.

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95. Paragraph 95 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

96. Fields denies the allegations in Paragraph 96 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

97. Paragraph 97 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

98. Fields denies the allegations in Paragraph 98 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

99. Paragraph 99 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

100. Paragraph 100 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

101. Paragraph 101 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

102. Fields denies the allegations in Paragraph 102 as to him. He does not have sufficient

information to respond to allegations as to the intent or acts of others.

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103. Paragraph 103 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

104. Fields denies Paragraph 104 as to him. He does not have sufficient information to
respond as to the actions or intents of others.

105. Paragraph 105 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

106. Paragraph 106 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

107. Paragraph 107 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

108. Paragraph 108 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

109. Fields denies the allegations in Paragraph 109 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

110. Paragraph 110 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond

to these allegations.

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111. Paragraph 111 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

112. Paragraph 112 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

113. Paragraph 113 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

114. Paragraph 114 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

115. Paragraph 115 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

116. Paragraph 116 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

117. Paragraph 117 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond

to these allegations.

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118. Paragraph 118 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

119. Fields denies the allegations in Paragraph 119 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

120. Fields denies the allegations in Paragraph 120 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

121. Fields denies the allegations in Paragraph 121 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others

122. Fields denies the allegations in Paragraph 122 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

123. Paragraph 123 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to
determine what was the “official” poster for the event.

124. Fields denies the allegations in Paragraph 124 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

125. Fields denies the allegations in Paragraph 125 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

126. Paragraph 126 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond

to allegations as to the intent or acts of others.

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127. Paragraph 127 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

128. Paragraph 128 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

129. Paragraph 129 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

130. Inresponse to Paragraph 130, Fields admits only that he met with other attendees for
travel to the event after he arrived in Charlottesville, Virginia. Fields does not have sufficient
information to respond to allegations regarding the actions and intents of others.

131. Paragraph 131 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

132. Paragraph 132 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

133. Paragraph 133 is net addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond

to these allegations as to the thoughts, actions and intents of others.

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134. Paragraph 134 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

135. Fields denies the allegations in Paragraph 135 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

136. Paragraph 136 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

137. Paragraph 137 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

138. Paragraph 138 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

139. Paragraph 139 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

140. Fields denies the allegations in Paragraph 140 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

141. Paragraph 14] is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond

to these allegations.

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142. Fields denies the allegations in Paragraph 142 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

143. Fields denies the allegations in Paragraph 143 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

144. Fields denies the allegations in Paragraph 144 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

145. Fields denies the allegations in Paragraph 145 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

146. Paragraph 146 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

147. Fields denies the allegations in Paragraph 147 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

148. Paragraph 148 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

149. Fields denies the allegations in Paragraph 149 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

150. Fields denies the allegations in Paragraph 150 as to him. He does not have sufficient

information to respond to allegations as to the intent or acts of others.

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15]. Paragraph 151 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

152. Paragraph 152 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

153. Fields denies Paragraph 153 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

154. Paragraph 154 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

155. Paragraph 155 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

156. Paragraph 156 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

157. Fields denies Paragraph 157 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

158. Fields denies Paragraph 158 as to him. He does not have sufficient information to

respond to allegations as to the intent or acts of others.

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159. Fields denies Paragraph 159 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

160. Paragraph 160 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

161. Paragraph 161 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

162. Fields denies Paragraph 162 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

163. Fields denies Paragraph 163 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

164. Fields denies Paragraph 164 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

165. Fields denies Paragraph 165 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

166. Fields denies Paragraph 166 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

167. Paragraph 167 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond

to these allegations.

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168. Fields denies Paragraph 168 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

169. Fields denies Paragraph 169 as to him. To the extent a further response is deemed
required, he does not have sufficient information to respond to allegations as to the intent or acts of
others nor to the mental state of Plaintiffs.

170. Paragraph 170 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

171. Paragraph 171 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

172. Fields denies Paragraph 172 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others nor to the mental state of Plaintiffs.

173. Fields denies Paragraph 173 as to him. To the extent a further response is deemed
required, he does not have sufficient information to respond to allegations as to the intent or acts of
others nor to the mental state of Plaintiffs.

174. Paragraph 174 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations but denies he attend the march and avers he was not present in Virginia at this
time.

175. Fields denies Paragraph 175 as to him. He does not have sufficient information to

respond to allegations as to the intent or acts of others.

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176. Fields denies Paragraph 176 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others nor to the mental state or observation of
Plaintiff.

177. Paragraph 177 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

178. Fields denies Paragraph 178 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others nor to the mental state or observation of
Plaintiff.

179. Fields denies Paragraph 179 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others nor to the mental state or observation of
Plaintiff.

180. Paragraph 180 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

181. Paragraph 181 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

182. Paragraph 182 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond

to these allegations.

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183. Paragraph 183 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

184. Paragraph 184 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

185. Paragraph 185 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

186. Paragraph 186 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

187. While admitting he was involved in a car accident, Fields otherwise denies the
allegations of Paragraph 187 as to him. He does not have sufficient information to respond to
allegations as to the intent or acts of others.

188. Fields denies Paragraph 188 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

189. Paragraph 189 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond

to these allegations.

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190. Paragraph 190 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

191. Paragraph 191 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

192. Paragraph 192 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

193. Inresponse to Paragraph 193, Fields denies he knew any intimidating, threatening or
otherwise illegal conduct was being planned or coordinated.

194. Fields denies Paragraph 194 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others and did not have any knowledge of any pian
formulated by Chief Thomas or others.

195. In response to Paragraph 195, Fields admits he walked to the Park with a group of
people. Someone he did not know handed him a shield. Otherwise denied as to Fields.

196. Paragraph 196 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations. Fields was not a member of any organization associated with the rally.

197. In response to Paragraph 197, Fields admits he walked to the Park with a group of
people he did not previously know. Someone he did not know handed him a shield. Otherwise

denied as to Fields.

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198. Paragraph 198 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

199. Paragraph 199 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

200. Paragraph 200 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

201. Fields denies Paragraph 201 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

202. Fields denies Paragraph 202 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

203. Paragraph 203 is not addressed to Fields and should require no response. To the extent a
further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

204. Paragraph 204 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

205. Paragraph 205 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond

to these allegations.

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206. Paragraph 206 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields denies he was in military attire or possessed a
rifle or pistol at any point and does not have sufficient information to respond to the remaining
allegations.

207. Fields denies Paragraph 207 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

208. Fields denies Paragraph 208 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

209. Fields denies Paragraph 209 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

210. Fields denies Paragraph 210 as to him. He does not have sufficient information to
respond to allegations as to the intent, perceptions, or acts of others.

211. Fields denies Paragraph 211 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others

212. Fields denies the allegations of Paragraph 212 as to him. He does not have sufficient
information to respond to these allegations as to others.

213. Paragraph 213 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations as to others.

214. Paragraph 214 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond

to these allegations as to others

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215. Fields denies the allegations of Paragraph 215 as to him. Fields does not have
sufficient information to respond to these allegations as to others.

216. Fields denies Paragraph 216 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

217, Fields denies Paragraph 217 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

218. Paragraph 218 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

219. Paragraph 219 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

220. Paragraph 220 Paragraph is not addressed to Fields and should require no response.
To the extent a further response is deemed required, Fields does not have sufficient information to
respond to these allegations as to others.

221. Fields denies Paragraph 221 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

222. Fields denies Paragraph 222 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

223. Inresponse to Paragraph 223 and upon information and belief, Fields admits the rally
was declared an unlawful assembly. At the time, he was not aware of this declaration. He further

denies that this declaration was made due any act or acts or intentions on his part.

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224. Upon information and belief and in response to Paragraph 224, Fields admits that
Governor McAuliffe declared a state of emergency. At the time, he was not aware of this
declaration. Fields does not have sufficient information to admit or deny the quote attributed to
Governor McAuliffe in this paragraph.

225. Paragraph 225 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

226. Fields denies Paragraph 226 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

227. Paragraph 227 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

228. Paragraph 228 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

229. Paragraph 229 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

230. Paragraph 230 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond

to these allegations.

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231. Fields denies Paragraph 231 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

232. Paragraph 232 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations

233. In response to Paragraph 233, Fields denies he planned violent actions or knew
violent actions were being planned.

234. Fields denies Paragraph 234 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

235. Fields denies Paragraph 235 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

236. Fields denies Paragraph 236 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others or what is a “popular anti-Black lives Matter
and anti-racial justice protest catchphrase.” The remaining allegations are not addressed to Fields
and should require no response.

237. Paragraph 237 is not addressed to Fields and should require no response. Should a
further response be deemed required, he does not have sufficient information to respond to
allegations as to the intent or acts of others.

238. Paragraph 238 is not addressed to Fields and should require no response. He does not
have sufficient information to respond to allegations as to the intent or acts of others.

239. Paragraph 239 is not addressed to Fields and should require no response. He does not

have sufficient information to respond to allegations as to the intent or acts of others.

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240. Paragraph 240 is not addressed to Fields and should require no response. He does not
have sufficient information to respond to allegations as to the intent or acts of others.

241. Fields denies Paragraph 241 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

242. While admitting his vehicle was involved in an accident at the approximately location
described, Fields otherwise denies the allegations of Paragraph 242.

243. Fields denies Paragraph 243 as to him. He does not have sufficient information to
respond to allegations as to the intent, location, or acts of others.

244. Paragraph 244 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

245. Paragraph 245 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

246. Paragraph 246 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

247. Paragraph 247 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond

to these allegations.

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248. Paragraph 248 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fieids does not have sufficient information to respond
to these allegations.

249. Fields does not have sufficient information to respond to the allegations in Paragraph
249,

250. Fields does not have sufficient information to respond to the allegations in Paragraph
250.

251. Inresponse to Paragraph 251, Fields denies he precipitated an attack. Fields does not
have sufficient information to respond to these allegations.

252. Fields does not have sufficient information to respond to the allegations in Paragraph
252.

253. Paragraph 253 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

254. Paragraph 254 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

255. Paragraph 255 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond

to these allegations.

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256. Paragraph 256 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

257. Paragraph 257 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

258. Paragraph 258 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

259. Fields denies the allegations in Paragraph 259 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

260. Paragraph 260 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

261. Paragraph 261 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

262. Fields denies the allegations of Paragraph 262 as to him. Fields does not have
sufficient information to respond to these allegations as to others.

263. Paragraph 263 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond

to these allegations.

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264. Paragraph 264 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

265,  Inresponse to Paragraph 265, Fields denies he drove his car into a crowd, Fields does
not have sufficient information to respond to these allegations.

266. Inresponse to Paragraph 266, Fields denies he belongs to Vanguard America. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

267. Paragraph 267 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

268. Paragraph 268 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

269. Paragraph 269 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

270. Paragraph 270 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond

to these allegations.

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271. Paragraph 271 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

272, Paragraph 272 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

273. Paragraph 273 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information toe respond
to these allegations.

274. Fields denies Paragraph 274 as to him and denies he used his car in an attack. He
does not have sufficient information to respond to allegations as to the intent or acts of others.

275. Paragraph 275 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

276. Paragraph 276 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

277. Paragraph 277 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

278. Fields denies Paragraph 278 as to him. He does not have sufficient information to

respond to allegations as to the intent or acts of others.

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279. Paragraph 279 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

280. In responding to Paragraph 280, Fields admits upon information and belief only that
Congress passed a joint resolution as alleged.

281. Inresponding to Paragraph 281, Fields admits upon information and belief only that
this paragraph appears to accurately describe additional language in the joint resolution referenced in
Paragraph 280.

282. Fields admits Paragraph 282 upon information and belief.

283. Fields does not have sufficient information to admit or deny the allegations in
Paragraph 283.

284. Fields does not have sufficient information to admit or deny the allegations in
Paragraph 284.

285. Fields does not have sufficient information to admit or deny the allegations in
Paragraph 285.

286. Fields denies he committed a “car attack.” Fields does not have sufficient
information to admit or deny the remaining allegations in Paragraph 286.

287. Fields denies he committed an “attack.” Fields does not have sufficient information
to admit or deny the remaining allegations in Paragraph 287.

288. Fields denies he committed a “car attack” and denies he attended any events on
August 11. He does not have sufficient information to admit or deny the remaining allegations in

Paragraph 288.

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289. Fields denies he committed a “car attack.” Fields does not have sufficient
infomraiton to admit or deny the remaining allegations in Paragraph 289.

290. Paragraph 290 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

291. Fields denies he committed a “car attack.” Fields does not have sufficient
information to admit or deny the remaining allegations in Paragraph 291.

292. Fields does not have sufficient information to respond to the allegations in Paragraph
292.

293. Fields denies the allegations of Paragraph 293 as to him. He does not have sufficient
information to respond to the remaining allegations.

294. Fields denies he committed a “car attack.” Fields does not have sufficient
information to admit or deny the remaining allegations in Paragraph 294.

295. Fields denies the allegations of Paragraph 295 as to him. He does not have sufficient

296. Fields denies Paragraph 296 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

297. Paragraph 297 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

298. Paragraph 298 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond

to these allegations.

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299, Paragraph 299 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

300. Paragraph 300 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

301. Paragraph 301 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

302, Paragraph 302 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

303. Fields denies Paragraph 303 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

304. Paragraph 304 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

305. Paragraph 305 is not addressed to Fields and should require no responses. He does
not have sufficient information to respond to the remaining allegations

306. Fields denies Paragraph 306 as to him. He does not have sufficient information to

respond to allegations as to the intent or acts of others.

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307. Paragraph 307 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

308. Fields denies Paragraph 308 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

309. Paragraph 309 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

310. Paragraph 310 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

311. Paragraph 311 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

312, Fields denies the allegations of Paragraph 312 as to him. He does not have sufficient
information to respond to the remaining allegations.

313. Paragraph 313 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

314. Fields denies the allegations of Paragraph 314 as to him. He does not have sufficient

information to respond to the remaining allegations as to others.

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315. Paragraph 315 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

316. Paragraph 316 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations

317. Paragraph 317 is not addressed to Fields and should require no response. To the
extent a further response 1s deemed required, Fields does not have sufficient information to respond
to these allegations.

318. Paragraph 318 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

319. Paragraph 319 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

320. Paragraph 320 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

32]. Paragraph 321 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond

to these allegations.

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322. Paragraph 322 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

323. Paragraph 323 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

324. Paragraph 324 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

325. Paragraph 325 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

326. Paragraph 326 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

327. Paragraph 327 is not addressed to Fields and should require no response, To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

328. Paragraph 328 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond

to these allegations.

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329. Paragraph 329 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

330. Paragraph 330 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

331. Paragraph 331 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations as to others but denies he attended this event.

332. In response to Paragraph 332, Fields admits only that he attended the event in
Charlottesville; was wearing a white polo shirt (that did not have the Vanguard logo on it) and
khakis; and was carrying an object with the Vanguard logo for some portions of the event.
Otherwise denied.

333. Paragraph 333 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

334. Fields denies Paragraph 334 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

335. Fields denies Paragraph 335.

336. In response to Paragraph 336, Fields incorporates the responses in all preceding

paragraphs.

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337. Fields denies Paragraph 337 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

338. Fields denies Paragraph 338 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

339. Fields denies Paragraph 339 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others

340. Paragraph 340 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

341. Fields denies Paragraph 341 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

342. Fields denies Paragraph 342 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others or alleged injuries or damages claimed by
Plaintiffs.

343. Fields denies Paragraph 343 as to actions allegedly performed by him. He does not
have sufficient information to respond to allegations as to the intent or acts of others or alleged
injuries or damages claimed by Plaintiffs.

344. In response to Paragraph 344, Fields incorporates the responses in all preceding
paragraphs.

345. Fields denies Paragraph 345 as to him. He does not have sufficient information to

respond to allegations as to the intent or acts of others.

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346. Fields denies Paragraph 346 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

347. In response to Paragraph 347, Fields was not aware of any conspiracy or overt acts
alleged to have been committed in furtherance of the conspiracy. Further, Fields does not have
sufficient information to respond to the allegations of injuries claimed by Plaintiffs.

348. Fields denies Paragraph 348 as to him. He does not have sufficient information to
respond to the allegations as to the intent or acts of others.

349. Fields denies Paragraph 349 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others or the alleged injuries claimed by Plaintiffs.

350. In response to Paragraph 350, Fields incorporates the responses in all preceding
paragraphs.

351. Fields denies Paragraph 351 including all subparts (a—r) as to him. He does not have
sufficient information to respond to allegations as to the intent or acts of others.

352. In response to Paragraph 352, Fields denies he committed any act or acts in
furtherance ofa conspiracy. He does not have sufficient information to respond to allegations as to
the intent or acts of others or the alleged damages claimed by Plaintiffs and demands strict proof
thereof.

353. Fields denies Paragraph 353 as to him, denies he is liabie, and denies he acted in
pursuit of a common conspiratorial scheme.

354. In response to Paragraph 354, Fields incorporates the responses in all preceding

paragraphs.

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355. Fields admits Paragraph 355 is a generally correct summation of the cited Virginia
code section.

356. Fields admits Paragraph 356 is a partially correct summation of the definition of “act
of terrorism” in the cited Virginia code section.

357. Fields does not have sufficient information to respond to the allegations of Paragraph
357.

358. Fields denies Paragraph 358.

359. Fields denies he violated the statute and otherwise does not have sufficient
information to respond to the allegations of Paragraph 359.

360. Fields does not have sufficient information to respond to the allegations of Paragraph
360 including either the legislative intent or the Plaintiff's alleged injuries.

361. Fields denies Paragraph 361 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others or the alleged damages and causation therefore
claimed by Plaintiffs.

362. In response to Paragraph 362, Fields incorporates the responses in all preceding
paragraphs.

363. Fields admits Paragraph 363 is an accurate summation of the cited Virginia code
section.

364. Fields denies Paragraph 364 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others or the alleged injuries claimed by Plaintiffs.

365. Fields denies Paragraph 365 as to him. He does not have sufficient information to

respond to allegations as to the intent or acts of others or the alleged injuries claimed by Plaintiffs.

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366. In response to Paragraph 366, Fields incorporates the responses in all preceding
paragraphs.

367. Fields denies Paragraph 367 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others or the alleged injuries claimed by Plaintiffs.

368. In response to Paragraph 368, Fields incorporates the responses in all preceding
paragraphs.

369, Fields denies Paragraph 369.

370. Fields denies Paragraph 370.

371. Fields denies Plaintiffs are entitled to the relief sought in Paragraph 371 as to him.

372. Fields denies Plaintiffs are entitled to the relief sought in Paragraph 372 as to him.

373. Fields denies Plaintiffs are entitled to the relief sought in Paragraph 373 as to him.

374. Fields denies Plaintiffs are entitled to the relief sought in Paragraph 374 as to him.

375. Fields denies Plaintiffs are entitled to the relief sought in Paragraph 375 as to him.

376. To the extent a response is deemed necessary, Fields denies all allegations not
specifically admitted including those encompassed in any headings and/or footnotes.

377. Fields will rely upon the defense that the actions sued upon with the exception of the
automobile accident, were the result of actions by others over whom Fields exercised no dominion or
control.

378. Fields denies that any sum is owed Plaintiffs by him or that Plaintiffs have been
injured in the manner or to the extent alleged.

379. The Defendant respectfully demands a TRIAL BY JURY.

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Respectfully submitted,

JAMES ALEX FIELDS, JR.
By Counsel

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CERTIFICATE OF SERVICE

 

I hereby certify that on 18" day of January, 2018, I electronically filed the foregoing
with the Clerk of Court using the CM/ECF system which will send notification of such filing to the
following:

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Kessler,

Vanguard America, Nathan Damigo, Identity
Europa, Inc., and Christopher Cantwell

I further certify that on January 18, 2018, | also served the following non-ECF participants,
via U.S. mail, First class and postage prepaid as follows:

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c/o Chris and Amanda Barker

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